Case 8:91-cr-00180-SDM-E_J Document 216 Filed 11/29/10 Page 1 of 3 PageID 120




                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION




   UNITED STATES OF AMERICA

   v.                                                        Case No. 8:91-cr-180-T-23EAJ
                                                                      8:10-cv-2649-T-23EAJ
   GRAZIANO PUGLIESSE
                                                        /


                                                  ORDER

            Pugliesse's motion to vacate pursuant to 28 U.S.C. § 2255 (Doc. 1) challenges

   the validity of his conviction for conspiracy to possess with intent to distribute cocaine.

   Rule 4, Rules Governing Section 2255 Cases, requires both a preliminary review of the

   motion to vacate and a summary dismissal "[i]f it plainly appears from the face of the

   motion, any attached exhibits, and the record of prior proceedings that the moving party

   is not entitled to relief . . . ." Accord Wright v. United States, 624 F.2d 557, 558 (5th Cir.

   1980)* (The summary dismissal of a Section 2255 motion was proper "[b]ecause in this

   case the record, uncontradicted by [defendant], shows that he is not entitled to relief.");

   Hart v. United States, 565 F.2d 360, 361 (5th Cir. 1978) ("Rule 4(b) of § 2255 allows the

   district court to summarily dismiss the motion and notify the movant if 'it plainly appears

   from the face of the motion and any annexed exhibits and the prior proceedings in the

   case that the movant is not entitled to relief.'"). The motion to vacate is time-barred.


            *
             Unless later superseded by Eleventh Circuit precedent, a Fifth Circuit decision issued
    before October 1, 1981, binds this court. Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir.
    1981) (en banc).
Case 8:91-cr-00180-SDM-E_J Document 216 Filed 11/29/10 Page 2 of 3 PageID 121




          In 1992 Pugliesse pleaded guilty pursuant to a plea agreement, but he left the

   country and was sentenced in abstentia to 121 months. In 2006 Pugliesse was arrested

   and commenced serving his sentence. Pugliesse admits the untimeliness of his motion

   to vacate but argues entitlement to equitable tolling of the one-year limitation.

          The Anti-Terrorism and Effective Death Penalty Act ("AEDPA") created a

   one-year limitation for filing a motion to vacate. 28 U.S.C. § 2255(f). The limitation "is

   subject to equitable tolling in appropriate cases." Holland v. Florida, ___ U.S. ___, 130

   S. Ct. 2549, 2560 (2010) (applying equitable tolling to a petition for the writ of habeas

   corpus under 28 U.S.C. § 2254). "Generally, a litigant seeking equitable tolling bears

   the burden of establishing two elements: (1) that he has been pursuing his rights

   diligently, and (2) that some extraordinary circumstance stood in his way." Pace v.

   DiGuglielmo, 544 U.S. 408, 418 (2005). Accord Sandvik v. United States, 177 F.3d

   1269, 1271 (11th Cir. 1999) ("Equitable tolling is appropriate when a movant untimely

   files because of extraordinary circumstances that are both beyond his control and

   unavoidable even with diligence."). Pugliesse must prove both extraordinary

   circumstances and due diligence.

          Pugliesse cites Mendoza v. Carey, 449 F.3d 1065, 1069 (9th Cir. 2006), and

   argues that he meets the extraordinary circumstance requirement because of (1) his

   inability to speak or read English and (2) the lack of access to books written in Spanish

   or inmate law clerks who speak Spanish. Mendoza is not the governing precedent in

   this circuit, in which the governing precedent is United States v. Montano, 398 F.3d

   1276 (11th Cir. 2005), which rejects as justifying equitable tolling Montano's allegedly



                                               -2-
Case 8:91-cr-00180-SDM-E_J Document 216 Filed 11/29/10 Page 3 of 3 PageID 122




   extraordinary circumstance—that his difficulty with English precluded his timely filing a

   Section 2255 motion to vacate. Accord Cobas v. Burgess, 306 F.3d 441 (6th Cir. 2002),

   cert. denied, 538 U.S. 984 (2003). See also Brown v. United States, 318 Fed. App'x

   749 (11th Cir. 2008) (Brown's illiteracy and problem communicating either verbally or

   with sign-language was not an extraordinary circumstance warranting equitable tolling.).

   As his supporting brief shows with empirical data, Pugliesse's inability to read or speak

   English is common within the prison systems throughout the United States. But, more

   importantly, Pugliesse fails to show that he exercised reasonable and due diligence in

   challenging his conviction. See Diaz v. Kelly, 515 F.3d 149, 154 (2nd Cir. 2008)

   (Requiring a "substantial obligation to make all reasonable efforts to obtain assistance

   to mitigate his language deficiency."). Pugliesse fails to document any effort to rectify

   his situation.

          Accordingly, the motion to vacate pursuant to 28 U.S.C. § 2255 (Doc. 1) is

   DENIED. The clerk shall enter a judgment against Pugliesse and close this case.

          ORDERED in Tampa, Florida, on November 29, 2010.




                                              -3-
